           Case 16-18931-mdc                        Doc 154            Filed 02/13/17 Entered 02/13/17 18:01:29                                Desc Main
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 Fill in this information to identify the case:

 Debtor name         North Philadelphia Health System

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)             16-18931-mdc
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Angela Deanes                                  Describe debtor's property that is subject to a lien                   $10,500.00                $10,500.00
       Creditor's Name                                All Real Property, excluding 1600-50 W.
                                                      Girard Ave., 1301-15 N. 8th St. and 1330 N.
       2323 Redner Way                                Perth St.
       Philadelphia, PA 19121
       Creditor's mailing address                     Describe the lien
                                                      Consent Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       October 5, 2016                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   City of Philadelphia                           Describe debtor's property that is subject to a lien                     $5,082.00                $5,082.00
       Creditor's Name                                1600 W. Girard Avenue, Philadelphia PA
       and School District of                         19130
       Philadelphia
       1401 JFK Boulevard
       5th Floor
       Philadelphia, PA 19102
       Creditor's mailing address                     Describe the lien
                                                      Judgment Lien Code Violation
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       January 15, 2009                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
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 Debtor       North Philadelphia Health System                                                         Case number (if know)      16-18931-mdc
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   City of Philadelphia                           Describe debtor's property that is subject to a lien                     $716,729.55       $716,729.55
       Creditor's Name                                See Attachment Two
       Philadelphia Water
       Revenue Bureau
       1401 JFK Boulevard, 5th
       Floor
       Attn: Megan N. Harper,
       Dep. Solicitor
       Philadelphia, PA 19102
       Creditor's mailing address                     Describe the lien
                                                      Municipal Judgment Liens; See Attachment
                                                      Two
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2013 to 2016                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       Attn: Megan N. Harper,
       Deputy
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Commonwealth of
 2.4                                                                                                                       $1,554,441.41      $1,554,441.41
       Pennsylvania                                   Describe debtor's property that is subject to a lien
       Creditor's Name                                Multiple Judgment Liens on NPHS Real and
       Department of Labor &                          Personal Property; See Attachment One
       Industries
       Office of Unemployment
       Compensation Tax
       651 Boas Street, 10th Floor
       Harrisburg, PA 17121
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       Various Dates                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       See Attachment One
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.


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 Debtor       North Philadelphia Health System                                                         Case number (if know)      16-18931-mdc
              Name



       District 1199C Training
 2.5                                                                                                                           $276,223.25       $276,223.25
       Fund                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                All Real Property
       100 South Broad Street
       10th Floor
       Philadelphia, PA 19110
       Creditor's mailing address                     Describe the lien
                                                      Consent Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       November 8, 2016                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Gemino Healthcare Finance                      Describe debtor's property that is subject to a lien                     $899,934.41    $3,091,897.00
       Creditor's Name                                First Security Interest in all Debtor's
       1 International Plaza                          Accounts, Payment Intangibles, etc. as set
       Suite 220                                      forth in UCC-1 Financing Statement.
       Philadelphia, PA 19113
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Philadelphia Gas Works                         Describe debtor's property that is subject to a lien                      $61,239.50        $61,239.50
       Creditor's Name                                1600 W. Girard Avenue, Philadelphia, PA
       800 Montgomery Avenue                          19130
       Philadelphia, PA
       19122-0050
       Creditor's mailing address                     Describe the lien
                                                      Municipal Judgment Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2015 and After                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)


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              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       The Bank of New York
 2.8                                                                                                                       $2,771,868.79     $2,771,868.79
       Mellon Trust Co NA                             Describe debtor's property that is subject to a lien
       Creditor's Name                                Debtor's Debt Service and Debt Service
                                                      Reserve Accounts 1997 Bond Issue; See
                                                      Attachment Three; Obligation is value of
       (Trustee under 1997                            outstanding 1997 Bonds and accrued interest
       Indenture of Trust)                            at December 30, 1997 less balance of FHA
       500 Ross Street, 12th Floor                    Mortgage
       Pittsburgh, PA 15262
       Creditor's mailing address                     Describe the lien
                                                      FHA Mortgage Insurance
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       December 30, 1997                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




       The Bank of New York
 2.9                                                                                                                     $10,484,167.70     $10,484,167.70
       Mellon Trust Co. NA                            Describe debtor's property that is subject to a lien
       Creditor's Name                                All Debtor's Real and Personal Property with
                                                      Subordinated Interest in Accounts and
                                                      Payment Intangibles, etc.
       (FHA Mortgagee)                                Claim Amount is Unpaid Balance of Principal,
       500 Ross Street, 12th Floor                    interest has accrued since November 1, 2016.
       Pittsburgh, PA 15262
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage and Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       December 30, 1997                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




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              Name

 2.1    U.S. Department of
 0      Housing and                                   Describe debtor's property that is subject to a lien                           $0.00                 $0.00
        Creditor's Name                               Covenant Obligation which is connected with
        Urban Development                             FHA Mortgage
        Office of Hospital Facilities
        451 Seventh Street SW
        Washington, DC 20410
        Creditor's mailing address                    Describe the lien
                                                      Regulatory Agreement, Section 242 Hospital
                                                      Program
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        December 30, 1997                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $16,780,186.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        61

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




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Schedule D - Attachment One

Statutory Judgments
Commonwealth of Pennsylvania
Department of Labor & Industries:

Docket No. 160803451                                                     $652,792.44
Docket No. 160903200                                                     $299,364.24
Docket No. 160403198                                                     $146,410.39
Docket No. 160701016                                                     $455,874.34
 Total UC Judgments                                                    $1,554,441.41
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City of Philadelphia, Water Revenue Bureau Liens
Schedule D, Attachment Two
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Schedule D - The Bank of New York Mellon, Trustee 1997 Bond Issue
Attachment Three

Bond Redemption January 1, 2017                                        ($565,000.00)
Bond Redemption at Par Value Tranche 2                                 ($920,000.00)
Bond Redemption at Par Value Tranche 3                               ($4,035,000.00)
Bond Redemption at Par Value Tranche 4                               ($7,390,000.00)
 Bond Redemption at Par Value All Bonds                             ($12,910,000.00)

Interest Due and Payable at January 1, 2017                            ($346,036.25)

Total Outstanding Bonds and Earned                                  ($13,256,036.25)
Interest at December 30, 2016

Less Outstanding Principal Balance FHA Mortgage                      $10,484,167.70

Net Obligation to BNYM                                               ($2,771,868.55)
